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 1   ROBERT E. ATKINSON, ESQ., Bar No. 9958
     Email: robert@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Facsimile: (702) 614-0647
 5
     Attorney for Plaintiff Brian D. Shapiro, Trustee
 6
                              UNITED STATES BANKRUPTCY COURT
 7
                                 FOR THE DISTRICT OF NEVADA
 8
                                                           Case No. 17-12299-abl
          In re:
 9                                                         Chapter 7
          SOUTHEAST HOLDINGS
10
          CORPORATION;
11                                Debtor.
12
          BRIAN D. SHAPIRO, Trustee;                       Adv. No. 18-01046-abl
13
                                  Plaintiff,
14        v.                                               CERTIFICATE OF SERVICE

15
          ODIN, LLC; and
16        JULIA VASSINA;

17
                                  Defendants.

18     The undersigned hereby certifies that I caused to be served the following document(s):
19            NOTICE OF ENTRY OF ORDER (DE #45)
20            NOTICE OF ENTRY OF ORDER (DE #46)

21     at the time and by the following means to the persons and entities as listed below:

22             ■ U.S. MAIL – On January 31, 2019 to:

23                            ODIN, LLC
                              ATTN: OFFICER
24
                              10787 Wilshire Blvd Suite 601
25                            Los Angeles, CA 90024

26                            ODIN, LLC
                              C/O INCORP SERVICES, INC.
27
                              36 SOUTH 18TH AVE STE D
28                            BRIGHTON, CO 80601


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 1                       JULIA VASSINA
                         10787 WILSHIRE BLVD APT 601
 2                       LOS ANGELES, CA 90024
 3
                         MICHAEL WEISS, ESQ.
 4                       WEISS & SPEES, LLP
                         6310 SOUTH SAN VICENTE BLVD SUITE 401
 5                       LOS ANGELES CA 90067
 6
     DATED: January 31, 2019             ATKINSON LAW ASSOCIATES LTD.
 7

 8
                                         By:           /s/ Robert Atkinson
                                               ROBERT E. ATKINSON, ESQ.
 9                                             Nevada Bar No. 9958
                                               Attorney for Plaintiff
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